Case 2:05-Cr-20240-BBD Document 22 Filed 06/27/05 Page 1 of 2 Page|D 8

 

r-':»_.sr 7 _

IN THE UNITED STATES DISTR_`[CT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 95 JUM

 

 

 

 

WESTERN DWISION 27 AH m‘ 15
'. t ':‘ :';. se 'F;":s:.te
_ ¥<F::I:_sr..-;.;_ q.s. elsi;. er
UNITED sTATEs oF AMERICA ' "D‘ C"` ‘N' ME""F*'“S
v.
ADAM MACKEY 05cr20240-2-D
ORDER ON ARRAIGNMENT
This cause came to be heard on the United States Attorney
for this district appeared on behalf of the vemment, and the defendant appeared in person and with
eounsel:
f
NAME é'< WL`M A.A. Who is Retained/Appointed.
.. , v ...---_~

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

The defendant, Who is not in custody, may stand on his resent bond.
VI'he defendant, (not hwade bond) (beir?id(epprisoner) (being a federal
84

prisoner) (being held Withou bond pursuant to BRA 19 , is remanded to the custody
of the U.S. Marshal.

    
 

 

UNli`éD sTAi‘Es MAGIsTRATE ]UDGE

CHARGES - 18 USC 2113
BANK ROBBERY BY FORCE OR VIOLENCE

Attorney assigned to Case: T. Arvin

Age: ‘L({/

This document entered on the docket sheet in oompl|ance
Wim sale ss ami/or 32(1;>) Fech on '=7/5'@¢

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:05-CR-20240 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Benard Weinman

LAW OFFICE OF BENARD WEINMAN
275 Jefferson Ave

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

